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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re                                           Chapter 11

PGHC Holdings, Inc.                             Case No. 18-12537 (___)

                              Debtor.

Federal EIN: XX-XXXXXXX


In re                                           Chapter 11

Papa Gino’s Holdings, Inc.,                     Case No. 18-12538 (___)

                              Debtor.

Federal EIN: XX-XXXXXXX


In re                                           Chapter 11

Papa Gino’s, Inc.,                              Case No. 18-12539 (___)

                              Debtor.

Federal EIN: XX-XXXXXXX


In re                                           Chapter 11

Papa Gino’s Franchising Corp.,                  Case No. 18-12540 (___)

                              Debtor.

Federal EIN: XX-XXXXXXX


In re                                           Chapter 11

D’Angelo’s Sandwich Shops, Inc.,                Case No. 18-12541 (___)

                              Debtor.

Federal EIN: XX-XXXXXXX
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In re                                                Chapter 11

Papa Gino’s/D’Angelo Card Services, Inc.,            Case No. 18-12542 (___)

                             Debtor.

Federal EIN: XX-XXXXXXX


In re                                                Chapter 11

Progressive Food, Inc.                               Case No. 18-12543 (___)

                             Debtor.

Federal EIN: XX-XXXXXXX


In re                                                Chapter 11

D’Angelo Franchising Corporation,                    Case No. 18-12544 (___)

                             Debtor.

Federal EIN: XX-XXXXXXX


In re                                                Chapter 11

Delops, Inc.,                                        Case No. 18-12545 (___)

                             Debtor.

Federal EIN: XX-XXXXXXX


                DEBTORS’ MOTION FOR ENTRY OF AN ORDER DIRECTING
                    JOINT ADMINISTRATION OF CHAPTER 11 CASES

                 The above-captioned debtors and debtors in possession (the “Debtors”) hereby

 move (the “Motion”) for entry of an order, substantially in the form attached as Exhibit A,

 directing the joint administration of these cases for procedural purposes only pursuant to section

 105(a) of the Bankruptcy Code, 11 U.S.C. §§ 101–1532 (as amended, the “Bankruptcy Code”),

 Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule


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1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”). In support of the Motion, the Debtors

rely upon and incorporate by reference the Declaration of Corey D. Wendland in Support of First

Day Relief (the “Wendland Declaration”) filed concurrently herewith. In further support of the

Motion, the Debtors respectfully state as follows:

                                        JURISDICTION

               1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware dated as of February 29, 2012. This is a core proceeding

under 28 U.S.C. § 157(b). Venue of these cases and the Motion is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

               2.      The Debtors consent pursuant to Local Rule 9013-1(f) to the entry of a

final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

               3.      The predicates for the relief requested herein are section 105(a) of the

Bankruptcy Code, Bankruptcy Rule 1015 and Local Rule 1015-1.

                                        BACKGROUND

               4.      On November 5, 2018 (the “Petition Date”), the Debtors each commenced

a voluntary case under chapter 11 of the Bankruptcy Code in this Court. No trustee, examiner, or

official committee has been appointed in these cases. The Debtors are operating their businesses

as debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

       5.      The Debtors are leading owner-operators of quick-service restaurants in New

England under the Papa Gino’s and D’Angelo Grilled Sandwiches brands.


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               6.      Additional detail regarding the Debtors, their business, the events leading

to commencement of these cases, and the facts and circumstances supporting the relief requested

herein is set forth in the Wendland Declaration and is incorporated herein by reference.

                                      RELIEF REQUESTED

               7.      By this Motion, the Debtors respectfully request entry of an order,

substantially in the form attached as Exhibit A, directing joint administration of these cases for

procedural purposes only.

               8.      The Debtors also request that (a) the Court maintain one file and one

docket for the jointly-administered chapter 11 cases under the case number assigned to PGHC

Holdings, Inc., and (b) these chapter 11 cases be administered under a consolidated caption,

substantially as follows:

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re                                                   Chapter 11

PGHC Holdings, Inc., et al.,                            Case No. 18-12537 (___)

                       Debtors.1                        Jointly Administered

1
        The Debtors in these cases, along with the last four digits of each Debtors’ federal EIN, are as
        follows: PGHC Holdings, Inc. (4262); Papa Gino’s Holdings Corp. (6681); Papa Gino’s, Inc.
        (1264); Papa Gino’s Franchising Corp. (2690); Papa Gino’s/D’Angelo Card Services, Inc. (0621);
        D’Angelo’s Sandwich Shops, Inc. (7947); Progressive Food, Inc. (6224); D’Angelo Franchising
        Corporation (8398); and Delops, Inc. (7945). The Debtors’ mailing address is 600 Providence
        Highway, Dedham, MA 02026.

               9.      The Debtors request that the Court find that the proposed caption satisfies

the requirements of section 342(c)(1) of the Bankruptcy Code.




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               10.     The Debtors also request that an entry be made on the docket of each of

the Debtors’ cases, other than the case of PGHC Holdings, Inc., to reflect the joint administration

of these cases, substantially similar to the following:

               An Order has been entered in accordance with rule 1015(b) of the
               Federal Rules of Bankruptcy Procedure and rule 1015-1 of the
               Local Rules of Bankruptcy Practice and Procedure of the United
               States Bankruptcy Court for the District of Delaware directing
               joint administration of the chapter 11 cases of the following
               entities: PGHC Holdings, Inc.; Papa Gino’s Holdings Corp.; Papa
               Gino’s, Inc.; Papa Gino’s Franchising Corp.; Papa
               Gino’s/D’Angelo Card Services, Inc.; D’Angelo’s Sandwich
               Shops, Inc.; Progressive Food, Inc.; D’Angelo Franchising
               Corporation; and Delops, Inc. The docket in the chapter 11 case of
               PGHC Holdings, Inc., Case No. 18-12537 (___), should be
               consulted for all matters affecting the chapter 11 cases of any of
               the foregoing entities.

               11.     Further, the Debtors request that the Court authorize them to utilize a

combined service list for the jointly-administered chapter 11 cases and that combined notices

may be sent to the Debtors’ creditors where appropriate.

                                      BASIS FOR RELIEF

               12.     Under Bankruptcy Rule 1015(b), if “two or more petitions are pending in

the same court by or against . . . a debtor and an affiliate, the court may order a joint

administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors are “affiliates” as that

term is defined under section 101(2) of the Bankruptcy Code, as each Debtor is a wholly owned

direct or indirect subsidiary of PGHC Holdings, Inc. Accordingly, this Court is authorized to

grant the relief requested herein.

               13.     Additionally, Local Rule 1015-1 provides that this Court may order joint

administration without notice or a hearing upon the filing of a motion requesting such joint

administration and an affidavit or verification establishing that joint administration is warranted

and will ease the administrative burden for the Court and the parties.


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               14.    As set forth in the Wendland Declaration, entry of an order directing joint

administration of the Debtors’ chapter 11 cases will avoid duplicative notices, applications and

orders, thereby saving the Debtors and parties in interest considerable time and expense, as well

as ease the administrative burden on the Court and the parties. The rights of creditors will not be

adversely affected because this Motion requests only administrative consolidation of the chapter

11 cases. By aggregating all papers related to the Debtors under the same case caption and

docket, creditors and parties in interest will be able to access and review relevant information

concerning the Debtors in one place, and will thereby be better able to keep apprised of the

matters before this Court.

               15.    Based on the foregoing, the Debtors submit that the relief requested is

necessary and appropriate and in the best interests of their estates and creditors, and should be

granted.

                                              NOTICE

               16.    Notice of this Motion is not required pursuant to Local Rule 1015-1.



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                                           CONCLUSION

               WHEREFORE, the Debtors respectfully request entry of an order, substantially in

the form attached as Exhibit A, granting the relief requested herein and such other relief as is

just and proper.

Dated: November 5, 2018                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware


                                        /s/ Matthew B. Harvey
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